
PER CURIAM:
*483¶ 1. The judgment of the Lafayette County Chancery Court is affirmed by an evenly divided Court. See Wise v. Valley Bank , 861 So.2d 1029, 1033 (¶ 10) (Miss. 2003) ("We hold that when this Court is evenly divided, the order or judgment of the court from which the appeal is taken must be affirmed.").
¶ 2. AFFIRMED.
GRIFFIS, P.J., WILSON, WESTBROOKS AND TINDELL, JJ., ROBERTS AND GOWAN, S.JJ., CONCUR. LEE, C.J., IRVING, P.J., BARNES, CARLTON, FAIR AND GREENLEE, JJ., NOT PARTICIPATING.
